       Case 1:12-cv-00758-JAP-ACT Document 27 Filed 02/11/13 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.

        JOINT MOTION TO AMEND CASE MANAGEMENT DEADLINES AND
             ORDER SETTING RULE 16 SETTLEMENT CONFERENCE

       Pursuant to D.N.M. LR-Civ. 16.1, the parties jointly move to amend the Case

Management Deadlines set by the Court and the Court’s Order Setting Rule 16 Settlement

Conference [Doc. 12], entered September 20, 2012. As grounds for this Motion, the parties state

as follows:

       1.      Plaintiff filed the present lawsuit in state court in May 2012, and the case was

removed to federal court in July 2012.

       2.      Since then, both parties diligently have pursued discovery. The parties have

exchanged written discovery requests and timely responded to those requests.

       3.      The parties also have identified potential fact witnesses and have conferred with

each other to schedule depositions of these witnesses in California and New Mexico at mutually

convenient times. Given time constraints on these witnesses, the desirability of scheduling out—

of-state depositions during the same week and Plaintiff’s counsel’s upcoming trial obligations,

however, counsel have been unable to schedule these depositions before the termination date for
       Case 1:12-cv-00758-JAP-ACT Document 27 Filed 02/11/13 Page 2 of 4



discovery currently scheduled for March 1, 2013. See Order Amending Case Management

Deadlines [Doc. 23], entered December 18, 2012.

       4.      Counsel have conferred with their clients and with each other and are able to

reschedule all of the requested depositions before the end of March 2013.

       5.      In its Notice of Pretrial Conference and Trial [Doc. 16], the Court set this matter

for non-jury trial on a trailing calendar beginning on July 8, 2013.

       6.      After conferring in good faith, the parties suggest that the following Case

Management Deadlines be modified as follows:

             DEADLINE                          SCHEDULING                      PROPOSED
                                                    ORDER                  NEW DEADLINE
End of Discovery                           March 1, 2013                March 29, 2013
Motions Related to Discovery               March 11, 2013               April 8, 2013
Pretrial Motions Other than Discovery      April 4, 2013                April 12, 2013

       7.      Under this proposed revision to the Case Management Deadlines, the dates for the

parties to submit a Pretrial Order will remain the same. As a result, nothing in these proposed

revisions will change the date by which this matter will be ready for trial.

       8.      In addition, the Court scheduled a Rule 16 Settlement Conference to be held on

March 7, 2013.

       9.      Given the additional time needed to complete parties’ pretrial discovery, it will be

most productive to vacate this setting for the Rule 16 Settlement Conference and re-schedule it

after the parties complete their remaining pretrial discovery.

       For these reasons, the parties jointly ask this Court to enter an order amending the Case

Management Deadlines to incorporate the dates as set forth in this motion, and vacating the Rule

16 Settlement Conference.




                                                 2
Case 1:12-cv-00758-JAP-ACT Document 27 Filed 02/11/13 Page 3 of 4



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                                 3
       Case 1:12-cv-00758-JAP-ACT Document 27 Filed 02/11/13 Page 4 of 4



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 11, 2013, the foregoing Joint Motion

to Amend Case Management Deadlines and Order Setting Rule 16 Settlement Conference was

electronically filed with the Clerk of Court using the CM/ECF system that will send notification

of such filing to all counsel of record:

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